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UNITED STATES DISTRICT COURT FOR THE

 

DISTRICT oF soUTH DAKOTA ; MHR 9‘@94
soUTHERN DIVISION bkhlh\f}@j
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UNITED sTATEs oF AMERICA, um“(j“
plaintiff, cIvIL No. 94» 54&53!
vs. coMPLAINT

ALLAN w. HAAG, a/k/a ALLAN HAAG;
ANN M. HAAG, a/k/a ANN HAAG;
NORTHWEST VETERINARY SUPPLY;

HERB WUDEL OIL COMPANY; FIRST
NATIONAL BANK, k/n/a NonEsT BANK
OF SOUTH DAKOTA; DOCTORS BUSINESS
SERVICE, INC.; L.F. NOLL; FARMERS
STATE INSURANCE; MUTH ELECTRIC,
INc.; UNITED AccoUNTs, INc.;
ALLIED COLLECTION SERVICE, INC.;
CREDACHECK; FAMILY ENTERTAINMENT
NETWORK; BRADFELT, INC.; RANDAL
L. RUMBOLZ; KATHRYN E.KURTENBACH;
DIVISION OF CONSERVATION, a
division of the South Dakota
Department of Agriculture; and
DAVISON COUNTY, a political
subdivision of the State of

South Dakota,

defendants.

 

Plaintiff, the United States of America, acting through the Farmers
Home Administration (FmHA), United States Department of Agriculture, by
and through its attorneys, Karen E. Schreier, United States Attorney,
and Bonnie P. Ulrich, Assistant United States Attorney, hereby states
and alleges as follows:

I.

That this Court has jurisdiction under Title 28, United States

Code, Section 1345 by reason of the fact that this is a civil action

brought for and on behalf of the United States of America;

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II.
That the defendants, Allan W. Haag and Ann M. Haag, are residents
of Minnehaha County, South Dakota;
III.
That the real property secured in this matter is located in Davison
County, South Dakota;
IV.
That the chattel property secured in this matter is located in
Davison County, South Dakota;
V.
That on or about the dates indicated below, the defendants, Allan
W. Haag and Ann M. Haag, for value received, made, executed and
delivered to plaintiff, acting through the Farmers Home Administration,

United States Department of Agriculture, certain promissory notes in

writing, which are secured by real estate mortgages described as

 

 

 

 

 

 

 

 

 

 

follows:
EX. PRIN. AMT. OF DATE OF % RATE PRIN. AMT OF RA, DATE OF % RATE
NO. ORIGINAL NOTE ORIGINAL (ORIG. ) MODIFIED RS, MODIFIED (MOD . )
NOTE NOTE C * NOTE
l. $ 45,770.00 09-18-1970 5.00%
2. $ 43,000.00 08-29~1977 B.OO%
3. $ 37,000.00 08-29-1977 3.00%
4. $ 19,000.00 08-29-1977 B.OO%
5. $104,000.00 03-16-1979 8.50%
6. $ 15,000.00 06-29-1981 5.00%
7. $ 10,000.00 06-23-1982 13.25% __
* RA = reamortized; RS = rescheduled; C = consolidated

 

 

 

 

 

 

 

True and correct copies of said promissory notes are attached

hereto and incorporated herein as Exhibits one through seven.

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VI.
That on or about the dates indicated below, the defendants, Allan
W. Haag and Ann M. Haag, for the purpose of securing the payment of the
above described promissory notes, made, executed and delivered to

plaintiff, acting through the Farmers Home Administration, United States

Department of Agriculture, certain real estate mortgages described as

 

 

 

 

 

 

 

follows:
Ex. DATE oF RECORDING BooK PAGE Ex. No. oF NOTE n
NO. MTG. DATE SECURED
B. 09-18-70 09-19*1970 196 1 1.
9. 08-29-77 08”30-1977 203 456 1,2,3 & 4
10. 03-16-79 03-16-1979 205 117 1,2,3,4 & 5
ll. 06-29-81 07-01-1981 207 238 1,2,3,4,5,& 6
12. 06~23-82 06-23-1982 208 140 1,2,3,4,5,6 & 7

 

 

 

 

 

 

 

 

True and correct copies of said real estate mortgages are
attached hereto and incorporated herein as Exhibits eight through
twelve;

VII.

That the real estate mortgages above referred to encumber the
following described real property situated in Davison County, South
Dakota:

TRACT ONE

The Southwest Quarter (SW%) of Section Twenty»eight (28),
The Southeast Quarter (SE%) of Section Twenty-eight (28),

All in Township One Hundred One (101) North, Range Sixty (60),
West of the 5th P.M., Davison County, South Dakota.

TRACT TWO
The Northwest Quarter (NW%) of Section Thirty~four (34), in

Township One Hundred One (101) North, Range Sixty (60), West
of the 5th P.M., Davison County, South Dakota.

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Mortgage Exhibit number 8 and dated September 18, 1970, however, only
encumbers the Southwest Quarter (SW 1/4) of Section Twenty-eight (28).
VIII.

That on or about the dates indicated below, the defendant, Allan w.
Haag, for value received, made, executed and delivered to plaintiff,
acting through the Farmers Home Administration, United States Department
of Agriculture, a certain promissory note in writing, which is secured

only by a chattel security agreement, described as follows:

 

 

 

 

 

EX. PRIN. AMT. OF DATE OF % RATE PRIN. AMT OF RA, DATE OF % RATE

NO. ORIGINAL NOTE ORIGINAL (ORIG.) MODIFIED RS, MODIFIED (MOD.)
NOTE NOTE C * NOTE

13. 213,400.00 03-02-1979 8.50%

 

 

 

 

 

 

 

* RA = reamortized; RS = rescheduled; C = consolidated

A true and correct copy of said promissory note is attached hereto

and incorporated herein as Exhibit thirteen;
IX.

The defendant, Allan W. Haag, for the purpose of securing the
payment of all of the above described promissory note listed in
Paragraph V and Paragraph VIII, made, executed and delivered to
plaintiff, acting through the Farmers Home Administration, United States
Department of Agriculture, a certain Security Agreement dated June 23,

1982, perfected by the filing of the following documents:

 

 

 

 

 

m
EX. TYPE OF FILING FILING DATE FILING LOCATION OF
NO. NUMBER FILING

15. UCC 03-02-79 1173 Sec.of State
16. UCC"Continuation 11-10-83 21367 Sec.of State
17. UCC-Continuation 11-22-88 21367 Sec.of State
18. UCC~Continuation 10-08-93 21367 Sec.of State

 

 

 

 

 

 

 

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True and correct copies of said Security Agreement, financing
statement, and continuation statements are attached hereto and
incorporated herein as Exhibits fourteen, fifteen, sixteen seventeen and
eighteen. The Security Agreement attached herein as Exhibit fourteen,
encumbers the following described property:

All crops, annual and perennial, and other plant products now
planted, growing or grown, or which are hereafter planted or
otherwise become growing crops or other plant products;

One Gehl Grinder*, One John Deere Planter, One International
Company Harvester Cutter, One Lindsay Wagon, One John Deere Running
Gear, One Big John Sprayer, One John Deere Rotary Hoe, One Hew
Holland Round Baler, One New Holland Baler, One New Holland Blower,
One Hydro-Mac 8C Skid Steer Loader*, One Farmhand Loader, One
Winpower Alternator*, One Handyman Cattle Chute, One New Holland
Flail Spreader, One International Harvester Company Spreader, One
John Deere Forage Wagon*, One New Holland Forage Wagon, One T & L
Pivot Irrigation, One Lindsay Drag, One International Harvester
Company Disc, One Ford Chisel Plow, One Oliver Loader*, One John
Deere Cultivator, One Lilson Cultivator, One John Deere Elevator,
One New Holland Swather*, One Case Plow, One International
Harvester Company Tractor with Dual Wheels*, One International
Harvester Tractor, One International Harvester Company Tractor, One
Case Tractor, One Melroe Tractor, One International Harvester
Company Tractor Super C*, One Better Bilt Liquid Spreader, One Big
Butcher Wagon with John Deere Trailer, One International Harvester
Company Field Cutter and One International Harvester Company
Tractor*;

Eighty Holstein Cows,* Twenty Hereford Cows*, One Holstein
Bull,* Ten Landrace Sows,* One Duroc Boar,* Fifteen Holstein
Open Heifers,* Twelve Mixed Open Heifers* and Fifty-five mixed
Calves*;

*Items from Security Agreement that have been sold with the

knowledge and approval of Farmers Home Administration;

X.
That at all times herein mentioned, plaintiff has been and now is the
owner and holder of the above described promissory notes and security

agreement.

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XI.

That the defendants, Allan W. Haag and Ann M. Haag, are in
default of the terms of said promissory notes, real estate mortgages and
security agreement in that (1) they have failed to make timely payments
of principal and interest as they have become due, (2) they have failed
to pay real estate taxes when due and owing on the real estate security
property, (3) they have permitted junior liens to be placed on the real
estate security property;

XII.

That the promissory notes provide that if default occurs in
the payment of any principal and/or interest when due according to the
terms thereof, the plaintiff may, at its election, declare the principal
sum, together with accrued interest thereon, all due and payable at
once; and the real estate mortgages provide that if default occurs in
the payment of the promissory notes or any payments required under the
real estate mortgages, or if default occurs in the repayment of any
advances made for and on behalf of the mortgagor, that the plaintiff
may, at its election, declare the entire indebtedness due and payable,
and the real estate mortgages may be foreclosed immediately; and the
Security Agreement provides that if default occurs in the payment of the
promissory note or any payments required under the Security Agreement,
or if default occurs in the repayment of any advances made for and on
behalf of the borrower, that the plaintiff may, at its election, declare
the entire indebtedness due and payable and immediately exercise any

sale or other rights accorded thereunder or by law;

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XIII.

That by reason of the default of the defendants as aforesaid in the
conditions and covenants of said promissory notes, real estate mortgages
and security agreement, plaintiff has and does now hereby accelerate the
maturity of said promissory notes and declares all of the indebtedness

evidenced thereby immediately due, and payable;

XIV.

That by reason of the defaults of the defendants as aforesaid in
the conditions and covenants of said promissory notes, real estate
mortgages and security agreement, plaintiff is entitled to have said
real estate mortgages foreclosed and the lands and premises sold in the
manner prescribed by law and the proceeds applied in payment of the
amounts found due herein;

XV.

That by reason of the defaults of the defendants as aforesaid in
the conditions and covenants of said promissory notes and security
agreement, plaintiff is entitled to judicially enforce the plaintiff's
security interest as described in the financing statements and security
agreement and to have all chattels sold in the manner prescribed by law
and the proceeds applied in payment of the amounts found due herein;

XVI.

That no other action at law or proceeding in equity or otherwise
has been commenced or is now pending for the foreclosure of the real
estate mortgages, the chattel security agreement or the collection of

the debt secured thereby;

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XVII.

That in connection with the preparation of this foreclosure, and to
protect the interests of the Farmers Home Administration, plaintiff has
advanced sums in the amount of $43,926.65 in unpaid real estate taxes
for the years 1978 to 1989, $921.00 for abstracting fees and title
search fees, $13,094.69 for default charges, $6,927.36 for Contract for
Deed and $12.00 for other expenses. Plaintiff further alleges that
under the provisions of its promissory notes and real estate mortgages
and security agreement the aforesaid costs plus interest are properly
assessable as costs in this action and are included in the loan balance
of Exhibit one wherein interest has been accrued for these advanced sums
to the date of to February 15, 1994. Interest continues to accrue at
the rate of 5%. In addition, plaintiff is entitled to all proper costs
incurred, or to be incurred, including forthcoming appraisal fees, by
plaintiff from the time this Complaint was filed to the conclusion of
this action. Plaintiff alleges that under the provisions of its
promissory note and security agreement there now remains due and owing
from defendants Allan Haag and Ann Haag $496.021.28 principal and
$363.775.86 interest for a total of $859,797,14 to the date of February
15, 1994;

XVIII.

That there now remains due and owing on the above referenced

promissory notes principal and interest accrued through February 15,

1994 as follows:

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EXHIBIT UNPAID PRINCIPAL UNPAID INTEREST DAILY ACCRUAL

NO. AS OF 02-15-94
l. 5104,810.68 $ 29,078.43 14.3325
2. $ 40,372.10 $ 36,391.46 8.8487
3. $ 21,030.33 $ 6,367.86 1.7285
4. $ 18,091.66 $ 15,272.71 3.9653
5. $100,199.06 $105,860.07 23.3340
6. $ 14,092.57 $ 7,494.16 1.9305
7. $ 10,000.00 $ 13,797.98 3.6301
13. l $187,424.88 5149,513.19 43.6469

 

 

 

 

XIX.
That the above referenced promissory notes and real estate
mortgages and security agreement provide that the plaintiff may at any
time pay any amounts required to be paid by the borrowers and not paid
by them when due, as well as any costs and expenses for the preserva-
tion, protection or enforcement of the plaintiff's liens as advanced for
the account of the borrowers, and that all such amounts shall bear
interest at the rate provided in the promissory notes secured. From
time to time during the pendency of this action it may be necessary for
plaintiff to make advances for one or more of said purposes, in addition
to the advances already made as alleged in Paragraph XV. above;
XX.
That the plaintiff believes the fair and reasonable value of the
real estate security is appraised at the value of $216,000.00 as of
1994.

February 4, Attached and incorporated by reference herein is a

copy of the appraisal referred to Exhibit 19. The fair and reasonable

value of the chattel security is estimated to be $4,657.00 as of October

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15, 1991, and that the total is less than the debt, including all costs
and advances, owed by the defendants, Allan W. Haag and Ann M. Haag; and
that a sale of the real and chattel property will result in a deficiency
owed to the plaintiff by the above named defendants; and that the
plaintiff may be entitled to a deficiency judgment pursuant to S.D.C.L.
§21»47-16 and common law. That plaintiff will bid only the fair and
reasonable value of the real and chattel property less the sum of the
balances due, as of the date of sale, on any prior liens or
encumbrances, including, but not limited to, liens or charges for real
estate taxes and special assessments;

XXI.

That the defendant, Davison County, a political subdivision of the
State of South Dakota, may claim some lien or interest in the real
estate which is the subject of this action by virtue of real estate
taxes owed against the real property subject to this foreclosure. Real
estate taxes remain unpaid for the years 1990, 1991, 1992 and 1993 for
a total of approximately $16,958.34. Such lien or interest, if any
exists, is superior to the aforesaid real estate ‘mortgages of the
plaintiff;

XXII.

That the defendant, Davison County, a political subdivision of the
State of South Dakota, may claim some lien or interest in the real
estate which is the subject of this action by virtue of a lien for
$200.00 for defendant fees and expenses paid by the Davison County
Treasurer Voucher Number 12138. Such lien or interest, if any exists,

is inferior to the aforesaid real estate mortgages of the plaintiff;

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XXIII .

That the defendant, Northwest Veterinary Supply, may claim some
lien or interest in the real estate which is the subject of this action
by virtue of a judgment filed on January 20, 1981 against Alan Haag
(a/k/a Allan Haag) in the amount of $488.25 plus $16.50 in costs and a
judgment against Alan Haag (a/k/a Allan Haag) in the amount of $328.46
plus interest of $98.02 and costs of 512.75 filed in Hutchinson County
on June 5, 1984 and a transcript of said judgment was filed in Davison
County on February 19, 1988. Such liens or interest, if any exists, are
inferior to the aforesaid real estate mortgages of the plaintiff;

XXIV.

That the defendant, Herb Wudel Oil Company, may claim some lien or
interest in the real estate which is the subject of this action by
virtue of a judgment against Allan Haag in the amount of $1,989.46 plus
costs of $22.75 filed on November 30, 1982. Such lien or interest, if
any exists, is inferior to the aforesaid real estate mortgages of the
plaintiff;

XXV.

That the defendant, First National Bank, n/k/a Norwest Bank, may
claim some lien or interest in the real estate which is the subject of
this action by virtue of a judgment against Allan Haag in the amount of
$584.80 plus costs of $12.75 filed on May 23, 1983. Such lien or
interest, if any exists, is inferior to the aforesaid real estate
mortgages of the plaintiff;

XXVI .
That the defendant, Doctors Business Service, Inc., may claim some

lien or interest in the real estate which is the subject of this action

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by virtue of a judgment against Allen Haag (a/k/a Allan Haag) in the
amount of $632.22 plus costs of $12.75 filed on October 25, 1983. Such
lien or interest, if any exists, is inferior to the aforesaid real
estate mortgages of the plaintiff;

XXVII.

That the defendant, L.F. Noll, may claim some lien or interest in
the real estate which is the subject of this action by virtue of a
judgment against Allen Haag (a/k/a Allan Haag) in the amount of $670.12
plus costs of $61.50 filed on May 7, 1984. Such lien or interest, if
any exists, is inferior to the aforesaid real estate mortgages of the
plaintiff;

XXVIII.

That the defendant, Farmers State Insurance, may claim some lien or
interest in the real estate which is the subject of this action by
virtue of a judgment against Allan Haag in the amount of $3,441.32 plus
interest of $79.50 and costs of $61.50 filed on August 6, 1984 in
Hutchinson County and a transcript of said judgment was filed in Davison
County on August 13, 1984. Such lien or interest, if any exists, is
inferior to the aforesaid real estate mortgages of the plaintiff;

XXIX.

That the defendant, Muth Electric, Inc., may claim some lien or
interest in the real estate which is the subject of this action by
virtue of a judgment against Allan Haag in the amount of $144.06 and
costs of $22.70 filed on November 5, 1985. Such lien or interest, if
any exists, is inferior to the aforesaid real estate mortgages of the

plaintiff;

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XXX.

That the defendant, United Accountsr Inc., may claim some lien or
interest in the real estate which is the subject of this action by
virtue of a judgment against Allan W. and Ann Haag in the amount of
$766.57 plus interest of $126.50 and costs of $39.50 filed on November
12, 1985. Such lien or interest, if any exists, is inferior to the
aforesaid real estate mortgages of the plaintiff;

XXXI.

That the defendant, Allied Collection Service, Inc., may claim some
lien or interest in the real estate which is the subject of this action
by virtue of a judgment against Allan Haag in the amount of $2,943.89
and costs of $55.30 filed on April 18, 1986 in Minnehaha County and a
transcript of said judgment was filed in Davison County on June 18,
1986. Such lien or interest, if any exists, is inferior to the
aforesaid real estate mortgages of the plaintiff;

XXXII.

That the defendant, Credacheck, may claim some lien or interest in
the real estate which is the subject of this action by virtue of a
judgment against Jim Haag c/o Allen (a/k/a Allan) and Ann Haag in the
amount of $79.13 plus costs of $17.90 filed on August 28, 1986. Such
lien or interest, if any exists, is inferior to the aforesaid real
estate mortgages of the plaintiff;

XXXIII.

That the defendant, Family Entertainment Network, may claim some
lien or interest in the real estate which is the subject of this action
by virtue of a judgment against Allan Haag in the original amount of

$67.38 plus costs of $18.89 filed on January 12, 1987. Such lien or

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interest, if any exists, is inferior to the aforesaid real estate
mortgages of the plaintiff;
XXXIV.

That the defendant, Bradfelt, Inc., may claim some lien or interest
in the real estate which is the subject of this action by virtue of a
judgment against Allan a/k/a Alan and Ann Haag in the amount of $334.06
plus costs of $63.50 filed in Minnehaha County on January 8, 1988 and a
transcript of said judgment filed in Davison County on June 6, 1989.
Such lien or interest, if any exists, is inferior to the aforesaid real
estate mortgages of the plaintiff;

XXXV.

That the defendant, Doctors Business Service, Inc., may claim some
lien or interest in the real estate which is the subject of this action
by virtue of a judgment against Allen (a/k/a Allan) Haag and Ann Haag in
the amount of $329.85 plus interest of $151.55, a collection fee of
$49.48 and costs of $13.25 and filed on July 26, 1988. Such lien or
interest, if any exists, is inferior to the aforesaid real estate
mortgages of the plaintiff;

XXXVI.

That the defendant, Division of Conservation, South Dakota
Department of Agriculture, may claim some lien or interest in the real
estate which is the subject of this action by virtue of a Irrigation
Permit 0007 and filed on June 25, 1985. Such lien or interest, if any
exists, is inferior to the aforesaid real estate mortgages of the

plaintiff;

XXXVII.

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That the defendant, Kathryn Kurtenbach, may claim some lien or
interest in the real estate which is the subject of this action by
virtue of ai vested drainage right January 22, 1991. Such lien or
interest, if any exists, is inferior to the aforesaid real estate
mortgages of the plaintiff;

XXXVIII.

That the defendant, Randal L. Rumbolz, may claim some lien or
interest in the real estate which is the subject of this action by
virtue of a rental lease agreement. Such lien or interest, if any
exists, is inferior to the aforesaid real estate mortgages of the
plaintiff;

That under applicable South Dakota statutes a one year period of
redemption from foreclosure is provided for real property, but such
redemption period is repugnant to the best interests of the plaintiff,
the United States of America, and contrary to the doctrine established
in Federal common law as developed under Title 28, United States Code,
Section 2001. §§§, Art. VI, Clause 2, Constitution of the United States
(Supremacy Clause). Therefore, this Court is requested to order the
real property sold by the United States Marshal without right of

redemption upon foreclosure.
wHEREFORE, plaintiff requests Judgment as follows:

1. That Judgment be entered against the real property, the chattel

property and the defendants, Allan A. Haag and Ann M. Haag, in the

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amount of $859,797.14 as of February 15, 1994, together with any
additional sums advanced, costs expended herein and interest accruing
thereon;

2. That a Decree of Foreclosure and Sale be entered directing the
United States Marshal or his deputy to sell the real estate security as
provided by law, without the right of redemption, and to apply the
proceeds to the costs and expenses of sale, plaintiff's costs and
expenses of this action, and the indebtedness due to plaintiff;

3. That the security interest of the plaintiff in the above
described chattel property be foreclosed and that the defendants, Allan
W. Haag and Ann M. Haag, be adjudged to have no further right, title or
interest in said chattel property;

4. That the defendants, Allan W. Haag and Ann M. Haag, be directed
to assemble and deliver to the United States Marshal the above described
chattel property. That the United States Marshal be directed to take
possession of said property and, after advertising for sale according to
law, to sell the above described chattel property in the manner provided
for the selling of such property as provided by law, and to apply the
proceeds to the costs and expenses of sale, plaintiff's costs and
expenses of this action, and the indebtedness due to plaintiff;

5. That the Court determine the lien priority of the parties and
order the Marshal to distribute the excess proceeds, if any, from the
sale of the real and chattel property in the order of that priority;

6. That the plaintiff should be awarded or otherwise reimbursed
for the costs and disbursements of this action;

7. That the Court determine the fair and reasonable value of the

real and chattel property security. That plaintiff be allowed to bid

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the fair and reasonable value of said property less the sum of the
balances due, as of the date of sale, on any prior liens or
encumbrances, including, but not limited to, liens or charges for real
estate taxes and special assessments, if less than the indebtedness
found to be due to the plaintiff herein;

8. That all defendants, together with each and every person or
entity claiming under them or claiming any lien or encumbrance of any
kind or character upon or against said real or chattel property
subsequent in time or in priority, or both, to the liens of the
plaintiff's real estate mortgages and security agreement, and all
persons claiming to acquire any right, title, claim or interest in and
to said real or chattel property or any part thereof subsequent to the
filing in the Office of the Register of Deeds for Davison County, South
Dakota of the Notice of Lis Pendens, be barred and foreclosed of and
from all rights, claims and equities in and to said real or chattel
property;

9. That the Court decree that plaintiff have, by way of further
relief, judgment against the defendants, Allan W. Haag and Ann M. Haag,
jointly and severally for any sums due it from then\ which remain
unsatisfied after the sale of the subject premises. No personal claim
is made against any other defendants;

10. That the Court order such other and further relief as may be

just and equitable.

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Dated this (/]M day of March, 1994.

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KAREN E. SCHREIER
UNITED STATES ATTORNEY

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Bonnie P. Ulrich
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Address: P.O. Box 1073

Sioux Falls, SD 57101
Phone: 605-330-4400

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